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                                                           April 17, 2023

Honorable Mary Kay Vyskocil
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 18C
New York, NY 10007

Re: Bragg v Jordan
    Case No. 1:23-cv-03032

Dear Judge Vyskocil:

In this friend of the court letter, I am providing overwhelming evidence to
this Court for why it must swiftly deny the relief being sought by Manhattan
District Attorney Alvin Bragg.

The 48 letters enclosed attached as Exhibits 1 through 5 prove definitively
that at the same exact time Manhattan District Attorney Alvin Bragg, New
York State Attorney General Letitia James, FBI Director Christopher
Wray, and United States Attorney General Merrick Garland are going after
former President Donald Trump with criminal charges, these same four
individuals are colluding together with criminal intent to help numerous
politically-connected people, including a different New York City developer,
get away with two different horrific and indisputable crimes against me and
my family that wiped out our life savings of over $2.3 million dollars on
September 5, 2018. These are true are false statements which can only be
answered as true by any objective observer after reading this letter and the
attached 48 letters found in Exhibits 1 through 5.

The attached letters also prove The United States Attorney for the Southern
District of New York, Damian Williams. is culpable in these two obvious
and horrific crimes by sitting silent and hoping that his silence will help the
perpetrators get away with the two crimes detailed in the 10 letters received
by Alvin Bragg, Letitia James, and Merrick Garland from July 2022 through
November 2022, and in the eight letters received by Christopher Wray in this
same time period.



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       The ten letters written to Alvin Bragg are Exhibit One.
       The ten letters written to Letitia James are Exhibit Two.
       The ten letters written to Damian Williams are Exhibit Three.
       The ten letters written to Merrick Garland are Exhibit Four.
       The eight letters written to Christopher Wray are Exhibit Five.
       Exhibit Six is the Complaint in the case James H. Brady v. Merrick B
        Garland, 23-cv-00212, which is currently before Judge Amit P. Metha
        in the District of Columbia. The Complaint proves that Mr. Garland is
        so anti-Catholic that even when sued, he refuses to follow his sworn
        duty to treat white Catholics fairly and evenly.

A review of all of these 48 letters prove that my claims are very simple to
understand and are so clear and obvious that they are indisputable, which is
why every single letter was completely ignored by Mr. Bragg, Ms. James,
Mr. Williams, Mr. Wray and Mr. Garland. Other people that received many
of these same letters and did nothing in reply include New York City Mayor
Adams, Jerry Nadler, and others who had a duty to act.

The first crime all five of these law enforcement individuals are colluding in
is the honest services fraud scheme of completely ignoring, for the benefit of
New York City Developer Jeffery Katz from Sherwood Equities, that fact
that my 1980 Offering Plan Contract and higher Appellate Court Decision
from February 11, 2010, were being unlawfully and unconstitutionally
replaced with a lower New York Supreme Court decision from July 15,
2014. The lower Court Decision unlawfully and unconstitutionally voided
what these governing decisions said on their face. The fact that this
unlawful and unconstitutional crime took place is proven very simply below.

The Seventh Paragraph Footnote to the Schedule of Units in the 1980
Offering Plan for a commercial co-op apartment read as follows:

        “Seventh Paragraph - NEW- The 12th Floor and Roof Unit Shall have,
        in addition to the utilization of the roof, the right to construct or
        extend structures on the roof or above the same, to the extent that
        may from time to time be permitted under applicable law.”



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The Appellate Division, First Department, February 11, 2010 Decision
ended with the following words:

      Pursuant to paragraph 7, that plaintiffs have the right to construct
      or extend structures upon the roof or above the same to the extent
      that may from time to time be permitted under applicable law,
      unanimously affirmed, without costs.

In her July 15, 2014 Decision, Justice Kornreich unlawfully rewrites
the Offering Plan Contract and the higher Appellate Court decision to
say the following:

      It has already been adjudged that while the owners of the unit may
      have the right to erect additional structures on the roof, that right
      does not entitle them to use any floor area in doing so (Prior Action,
      decision and order, Mar 13, 2009 at *2 & *4-*5 [“Nothing herein
      shall be construed as holding that plaintiffs have the right to use all or
      any part of the TDRs in connection with such construction or
      extension”] Brady v 450 W. 31st St. Owner’s Corp., 70 AD3d 469,
      470 [1st Dept 2010] [holding that the offering plan “reserves for
      plaintiffs the right.... to construct or extend structures on the roof
      that may be built without the use of the building's development
      rights.”]

As lawyers, Mr. Bragg, Ms. James, Mr. Williams, Mr. Wray and Mr. Garland
all certainly know the rewriting of my Offering Plan contract and higher
Appellate Court decision by the lower court judge was an unlawful and
unconstitutional act, and was done with the deliberate criminal state of mind
to help politically-connected people, including Judge Kornreich’s husband’s
law firm Greenberg Traurig (who was one of the defendants in the case) get
away with their part with stealing the $70-90 million in air rights that were
affirmed to be contractually appurtenant to my then 12th Floor and Roof Unit
Apartment after my wife Jane and I refused to sign a waiver of our Unit’s
affirmed rights in 2012. (See bullyjudgesny.com to see a copy of the
unsigned waiver from 2012).

It should also be noted for Jim Jordan and the members of the House
Judiciary Committee that much of the evidence of law enforcement and

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judicial corruption were destroyed by YouTube on March 7, 2023 when they
took down my channel under false pretenses that my channel had content not
permitted under YouTube's rules.

For the benefit of New York City Developer Jeffery Katz and the powerful
law firms involved in this plain and clear criminal act, Mr. Bragg colluded
with state actor Letitia James and federal actors Damian Williams,
Christopher Wray, and Merrick Garland to simply completely ignore
addressing this proven crime that was repeatedly shown to them in the
attached unanswered 48 letters.

 Mr. Bragg's collusion with three federal law enforcement officials certainly
means Jim Jordan and the House Judiciary Committee has the jurisdiction
and the duty to question Mr. Bragg and all the other perpetrators involved in
the cover-up of this plain and obvious crime. Mr. Trump certainly has the
right to prosecutors who are not themselves engaging in criminal acts. This
is an indisputable fact.

Mr. Bragg, Ms. James, Mr. Williams, Mr. Wray and Mr. Garland and all
of their predecessors have all been told about the YouTube video of Jeffery
Katz in October 2013 ,shortly after the crime took place, boasting to Crain's
New York that he quickly flipped the development lot for a $120 million-
dollar profit but never mentioned the fact that the sale to Frank McCourt also
included the 170,000 square feet of air rights that Mr. Katz purchased from
450 West 31st Street Owners Corp for $9.5 million dollars because he knew
the transaction was totally unlawful because Mr. Katz never obtained the
signed waiver that he needed from me and my wife Jane that was sent to
us to sign, for free, in 2012.

The link below shows the interview from October 2013:
https://www.youtube.com/watch?v=3kC2m2jSRZ8

The video shows that at the time of the 2013 interview there were no
buildings built yet in the Hudson Yards. The area around the lot is now
filled with huge Hudson Yards towers that are over 6 years old but the lot
Mr. Katz sold to Frank McCourt still sits empty because of the title issue
created by the unlawful transfer of $70-90 million in development rights that


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were affirmed to be contractually appurtenant to my then 12th Floor and
Roof Unit Apartment.

The case law below proves it is axiomatic that I had the First Amendment
right to file a criminal complaint, and that Mr. Bragg, Ms. James, Mr.
Williams, Mr. Wray and Mr. Garland violated that First Amendment right by
their joint refusal to accept a criminal complaint from me to remedy this
grievance.

      “Undoubtedly, Plaintiffs are correct when they state that they have a
      First Amendment right to file complaints with the government. Hogan
      v. County of Lewis, 929 F.Supp 2d 130 (District Court ND NY 2013).

      “It is axiomatic that filing a criminal complaint with law enforcement
      officials constitutes an exercise of the First Amendment right to
      petition government for the redress of grievances.” Lott v. Andrews
      Ctr.,259 F.Supp.2d 564, 568 (E.D.Tex.2003).

      The rights to complain to public officials and to seek administrative
      and judicial relief are protected by the First Amendment.” Jackson v.
      N.Y. State, 381 F.Supp.2d 80, 89 (N.D.N.Y.2005).

For the financial benefit of Jeffery Katz, 450 West 31st Street Owners Corp,
and the law firms involved in this clearly unlawful act by Judge Kornreich
the current and former Manhattan District Attorney, the former and current
New York State Attorney General, and the current and former United States
Attorney for the Southern District of New York have all gone to great
lengths to refuse to permit me from filing a criminal complaint to seek
redress for the plain and obvious unconstitutional and criminal conduct
proven above.

These facts mandate that Jim Jordan and his House Judiciary Committee
question Mr. Bragg and anyone else he wants to question pertaining to this
massive public corruption scandal which involved people hired to be Federal
Prosecutors and Federal Judges.

The second crime that these five individuals named above are colluding in
together is the honest services fraud scheme of trying to ignore and bury the

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crime committed by Judge Judy Sheindlin's stepson, Gregory Sheindlin,
which forced the sale of my 12th Floor and Roof Unit commercial apartment
in New York City on September 5,2018 to pay his client, Philippe Ifrah of
IGS Realty, over $1.7 million dollar by fraudulently misrepresenting
“through implication” that a State Court Jury ruled on their three question
June 26, 2015 New York State Jury interrogatory sheets that the personal
guarantees I signed with IGS Realty in 2002 and 2003 were enforceable,
when Sheindlin and his client Philippe Ifrah know there was never even a
question pertaining to the personal guarantees on the three-question June 26,
2015 jury interrogatory sheet.

The fact that this fraudulent criminal act took place by Mr. Sheindlin and his
client Phillippe Ifrah is very simply proven by comparing what Mr.
Sheindlin wrote to obtain the over $1.7 million dollar Judgment against me
James H. Brady against what Mr. Sheindlin and his attorney Robert Sussman
admitted by stipulation at Mr. Sheindlin’s May 4, 2021 deposition.

In his 2017 Article 52 Petition Mr. Sheindlin made the following
false claims, and nothing more, to obtain what grew to be more than a
$1.7 million-dollar personal guarantee judgment from the New York
State Courts against Petitioner:

      AND Plaintiff (IGS Realty) having presented all its evidence and
      rested, and the Defendant (Brady) having presented all its evidence in
      support of his defenses and having rested, the jury rendered a verdict
      on June 26, 2015 in favor of Plaintiff against the Defendant, in the
      sum of $541,758.62, with the statutory rate of interest accruing from
      May 1, 2009 and the cost of disbursements to Plaintiff.

Gregory Sheindlin and his attorney Michael Sussman admitted under oath
and by stipulation at Mr. Sheindlin’s May 4, 2021 deposition in the
case Gregory Sheindlin v. James H. Brady, 21-cv-1124 (LJL)(Docket No.
73), that the personal guarantees were not ever even part of the jury
verdict questions:

      (p. 41-42) MR. SUSSMAN: Hold on. We both can't speak at the same
      time. The gentleman has explained to you exactly what he did. It's
      also in the document. The document speaks for itself. It says nothing

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      about a personal guarantee. That's admitted. We can stipulate to that
      so we don't have to worry about that.


26 USC App Rule 91 holds that “A stipulation shall be treated, to the extent
of its terms, as a conclusive admission by the parties to the stipulation.”

The First Circuit holds that “a party's assertion of fact in a pleading is a
judicial admission by which it normally is bound throughout the course of
the proceeding.” Schott Motorcycle Supply, Inc. v. Am. Honda Motor Co.,
976 F.2d 58, 61 (1st Cir.1992).

“Judicial admissions are formal concessions in the pleadings, or stipulations
by a party or its counsel, that are binding upon the party making them. They
may not be controverted at trial or on appeal.” Keller v. United States, 58
F.3d 1194, 1198 n. 8 (7th Cir.1995).

Stipulated admissions are not actually evidence but rather “formal
concessions in the pleadings in the case or stipulations by a party or its
counsel that have the effect of withdrawing a fact from issue and dispensing
wholly with the need for proof of the fact.” JOHN H. WIGMORE,
WIGMORE ON EVIDENCE § 2597, at 852 (1981 & Supp. 1991).

Although the evidence proves that on May 4, 2021 Gregory Sheindlin and
his attorney Robert Sussman confessed through stipulation that the three
question June 26, 2015 State Court Jury interrogatory sheet that Mr.
Sheindlin used to force Petitioner lose his livelihood by forcing the sale of
Petitioner's 12th Floor and Roof Unit apartment to pay over $1.7 million
dollars to his client Phillippe Ifrah on a personal guarantee on September 5,
2018 never even had any questions, let alone any finding that even pertained
to personal guarantees.
In collusion, Mr. Bragg, Ms. James, Mr. Williams, Mr. Wray and Mr.
Garland have refused to even acknowledge receipt of the numerous letters
they each received.

The evidence in my attached 48 letters proves the only people worse than all
of these people hired to be local , state and federal law enforcement officials
are the complete liars hired that are entrusted to be State and Federal

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Judges. These people hired to be State and Federal Judges have
implemented huge sanctions against me and implemented filing injunctions
against me with the criminal state of mind of hoping their filing injunctions
will help the perpetrators of the two proven crimes get away with never
being held accountable for their criminal acts.

The shameful and unlawful acts of New York State and New York Federal
Judges is also retaliation against me for creating the website
bullyjudges.com in 2012 that was changed to bullyjudgesny.com after the
domain name bullyjudges.com accidentally lapsed around 2020. Much of
the video filmed evidence of judicial corruption was destroyed by YouTube
taking down my channel on March 7, 2023.

To hide their collusion in these two crimes, the Appellate Division, First
Department took down the whole year of Oral argument Archives from
2018 and pretended that oral argument archives did not start until the year
2019. My tapes on my YouTube Channel showed oral arguments from
January 2018 and May 2018 which proved the Appellate Division, First
Department was lying when they now state on their website that oral
argument archives did not start till 2019.

Many of the attached 48 letters point to evidence that is shown on tapes on
my YouTube channel that YouTube removed on March 7, 2023 under false
pretenses to hide the crimes of Mr. Garland and the other people in power.

In truth, YouTube took down my channel on March 7, 2023 because on that
day I kept posting the existence of the case of Brady v. Garland, 23-cv-
00212, under tapes of Senator Josh Hawley and Senator Cruz confronting
Merrick Garland and his Justice Department of anti-Catholic bias.

Indeed, in the hours right before I was notified by email that my channel was
taken down by YouTube on March 7, 2023, I was notifying people of the
case of Brady v. Garland 23-cv-00212, so that there would be some public
awareness and public scrutiny of how unfairly Mr. Garland was treating me
as a white Catholic. The comments were made appropriately in the
comments section under the video of Senator Josh Hawley confronting Mr.
Garland on his anti-Catholic prejudice on March 1, 2023.


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Right before YouTube took down my channel on March 7 2023, they were
removing my notifications of the Brady v. Garland lawsuit instantaneously
in order to censor me and help Mr. Garland hide from the public the case of
Brady v. Garland as it is more proof of Mr. Garland's prejudice and refusal
to give a white Catholic equal protection under the law. My statements were
right on topic with the March 1, 2023 video of Senator Josh Hawley
confronting Mr. Garland about the evidence of anti-catholic bias in his
Justice Department. That link is shown below.

HTTP://www.youtube.com/watch?v=_gEXmJZv93M

Collusion between our government and powerful platforms like YouTube is
certainly something Jim Jordan and his committee must investigate. Taking
down the YouTube videos also made it so people could no longer go there to
listen to the audio of Gregory Sheindlin's May 4, 2021 deposition where he
admitted by stipulation that the $1.7 million dollar judgment he obtained
was through his fraudulent misrepresentation “though implication only” that
the jury ruled the personal guarantees were enforceable on their June 26,
2015 Jury interrogatory sheets .

For all the above reasons, I urge this Court to deny Mr. Bragg's attempts at to
avoid having Mark Pomerantz and himself being questioned by
Congressman Jim Jordan and his House Judiciary Committee.

It is also my wish that Senator Jim Jordan give me an opportunity to speak
before him and the House Judiciary Committee because no one has more
concrete proof of the corruption of our public officials than I have shown in
this letter and my accompanying exhibits.

Thank You,

_________________________

James H. Brady
2422 Apple Ridge Circle
Manasquan, NJ 08736




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